IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

TAC GROUP, LTD.
V.

FEDERAL INSURANCE CO., VERARI
SYSTEMS, INC., CHRISTOPHER WITT,
DAVID WRIGHT, DAVID DRIGGERS,
JERRY LOE, AND CIRRASCALE
CORPORATION (f/k/a VERARI
TECHNOLOGIES, INC.)

MN LN LN LN LR GL Lr GG

C.A. 4:10-CV-02696

ADR MEMORANDUM TO CLERK OF COURT

Mediation
Mini-Trial

ADR METHOD:

Arbitration
Summary Jury Trial

TYPE OF CASE: +r $v@ancé Coveroge.

1. Please check one of the following:
The case referred to ADR settled

So or did not settle .

2. My total fee and expenses were: $__5200.00

3. Please list names, address, and telephone numbers of all parties and all counsel of record:

THE CAMBERG LAW FIRM, P.C.

Roy Camberg

17225 El Camino Real, Suite 444

Houston, Texas 77058

(281) 486-6900 ;
FAX: (281) 486-4695 |
ATTORNEYS FOR PLAINTIFF,
TAC GROUP, LTD.

MARTIN, DISIERE, JEFFERSON &
WISDOM, LLP

Vasilia M. Wilkes

808 Travis, Suite 1800

Houston, Texas 77002

(713) 632-1700

FAX: (713) 222-0101

ATTORNEYS FOR DEFENDANT,
FEDERAL INSURANCE CO.

WAALZ\ALZ\Mediate\TAC- 16408\adr cpt. wpd - August 29, 2011

FULBRIGHT & JAWORSKI, L.L.P.

John Rice

1301 McKinney, Suite 5100

Houston, Texas 77010-3095

(713)G51-5451 SIPZ

FAX: (713) 651-5246

ATTORNEYS FOR DEFENDANTS,
VERARI SYSTEMS, INC., CHRISTOPHER
WITT, DAVID WRIGHT, DAVID
DRIGGERS, AND JERRY LOE

NISTICO, CROUCH & KESSLER, P.C.
Erica Meadough Graham

5151 San Felipe, Suite 900

Houston, Texas 77056

(713) 781-2889

FAX: (713) 781-7222

ATTORNEYS FOR DEFENDANT,
CIRRASCALE CORPORATION § (f/k/a
VERARI TECHNOLOGIES, INC.)
ADR Provider

Name: Alvin.L. Zimmeseran

f ,
Date: y | Signature:

 

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